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                         IN THE TJNITED STATES DISTRICT COURT

                         DISTRICT OF UTAII, CENTRAL DTVISION


MORGAN HENDERSON,                                              COMPI,AINT

                    Plaintiff,



COMPLETE RECOVERY CORPORATION,

                   Defendant.                                  JURY TRIAL DEMANDED


                                       I.   INTRODUCTION

        1.      This is an action for damages brought by an individual consumer for Defendant's

violations ofthe fcderal Fair Debt Collection Practic€s Act, l5 U.S.C. $ 1692, er seq. @ereinafter

"FDCPA',).

                                       II.   JT'RISDICTION

       2.       Plaintifs claim for violations of the FDCPA        arises under 15 U.S.C.   $ 1692k(d),

and therefore involves a "federal question" pursuant to 28 USC $ I 33 1 .

                                             tII.   PARTIES

       3.       Plaintifi Morgan   Henderson    (?laintifl),   is a natural person rcsiding in Salt   lake

County, Utah.
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        4.       Defendant, Complete Recovery Corporation, ("Defendant')               is a   corporation

engaged   in the business of collecting debts by use of the mails and telephone. Defendant

rcgularly attempts to collect debts alleged due another.

                                         IV. FACIUAL ALLEGATIONS
        5.       Defendant is a "debt collector" as defined by the FDCPA, l5 U.S.C. $ 1692(6).

        6.       Plaintiffis   a "consumer" as defined by the FDCPA, 15 U.S.C. $      1692(3).

        7.       All activities of Defeldant      set out herein were undertaken in connection with the

collection ofa "debt " as defined by 15 USC S 1692a(5).

        8.       Within the last year, Defendart took multiple actions in an attempt to collect a

debt ftom Plaintitr Defendant's conduct violated the FDCPA in multiple wayg including the

following.

        9.      Communicating          or   threaleniog   lo   communicate credit information which is

known or which should be known to be false, including verirying the existing information on

Plaintiffs with the credit bureaus in response to a dispute by Plaintiff, and failing to

simultaneously update the credit report to r€flect that the debt had been disputed ($ 1692e(8)).

        10.     Where Defendant had not yet made an attempt 10 contact Plainli{fs counsel or

had not given   Plaintif   s counsel   suflicient time to respond to the initial attempt to commudcate

with Plaintifs counsel, ard where Plaintiffs counsel had not given Defendant permission to

conta.t Plaintilf dircctly, communicating with Plaintiffdirectty after leaming tbat Plaintitr is

beirg rcplesented by counsel. Counrl for Plaintiffsent Defendant a letler notifying Defendant

that he represented Plaintiff. Thereaffer, Defendant sent conespondence dircctly to       Plaintill

about the debt at issue in this litigation and about another related debt ($ 1692c(a)(2)).
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            11.   Taking collection action in the slate of Utah without first obtaining the proper

state license     to engage in collection actions. When Defendant sent the letler to Plaintiff

referenced in paragaph 10, it did not have a current and valid license to collect debts in Utah ($

1692f).

            12.   As a result of the aforementioned violations, Plaintitl suffered and continues to

suffer injuries to Plaintiffs feelings, personal humiliation, embarassment, mental anguish and

severe emotional distress.

            13.   Defendant intended to caus€, by means of the actions detailed above, injudes to

Plaintilfs feelings, personal humiliation, embanassment, mental anguish and       sgvere gmotional

distress.

            14.   Defendant's actions, detailed above, were undertaken         with     extraodinary

disregard of, or idifference to, known or higbly probable risks to purpoded debtors,

          15.     To the extent Defendant's actions, detailed in paragraphs 8-10, were carried out

by an employee of Defendant, that employee was acting within the scope of his or                 her

emplo)/rnent.

       COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

          16.     Plaintiffreincorporates by reference all ofthe preceding paragnphs.

          17.     The preceding paragraphs st^te a pfima facie case for Plaintiff and against

Defendant for violations ofthe FDCPA, gg 1692e(8)       &   1692c(a)Q).

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully prays that judgment b€ entered against the

Defendant for the following:
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       A,      Declaratoryjudgrnent that Defendant's conduct violated the FDCPA;

       B,     Actual dsrnages pursuant to 15 USC      l69k;
       C.     Stahdory drmeges pursuant to 15 U.S.C. g    l69k;
       D.     Costs, disburs€rneots and ressonable attomey's fees for   all successfirl claims, atrd

any unsuca€ssfrrl claims arising out of the same transaction or occurence as the sucaessfi{

claims! pursuant to 15 U.S.C. $ 1692k; and,

       E.     For such other and flrrther reliefas may bejust and Foper.

                 PLAINTITT MREBY REOI'ESTS A TRIAL BY JT'RY



              Dated this 22d day   ofoctober, 2010.




PLAINTIFF'S ADDRESS
Midvale, UT
